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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIR E



United States of America

           V.                           Criminal No . 09-cr-140-02-J L

Thomas McElligott


                                O R D E R



     The assented to motion to reschedule jury trial (document no .

70) filed by defendant McElligott is granted in part ; the

continuance is limited to 60 days . Trial is continued as to all

defendants .

     Defendant McElligott shall file a waiver of speedy trial

rights within 10 days . The court finds that the ends of justice

served by granting a continuance outweigh the best interest of the

public and the defendant in a speedy trial, 18 U .S .C . ~

3161(h)(8)(B)(iv), for the reasons set forth in the motion .

     SO ORDERED .




                                        Joseph N . Laplant e
                                        United States District Judg e

Date : September 17, 200 9




cc : Counsel of Record
      U .S . Marsha l
      U .S . Probation
